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                         Exhibit E
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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 G.F.F., et al.,

                                  Petitioners,

                            v.                                    Case No. 1:25-cv-02886 (AKH)
 DONALD J. TRUMP, et al.,

                                  Respondents.


        DECLARATION OF ACTING ASSISTANT FIELD OFFICE DIRECTOR
                        KHRISTOPHER DAWSON

       I, KHRISTOPHER DAWSON, pursuant to 28 U.S.C. § 1746, declare under penalty of

perjury as follows:

       1.      I am currently employed by the U.S. Department of Homeland Security (DHS),

U.S. Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations (ERO),

as the Acting Assistant Field Office Director, Detained Case Management Unit, for the New York

City ERO Field Office, which is responsible for ERO operations in the five boroughs of New York

City, as well as the counties of Dutchess, Nassau, Putnam, Suffolk, Sullivan, Orange, Rockland,

Ulster, and Westchester in New York State.

       2.      As the Acting Assistant Field Office Director, I am responsible for, among other

things, oversight of the detention of noncitizens in the New York City area. In my role as the

Acting Assistant Field Office Director, I have access to records maintained in the ordinary

course of business by ICE, including documentary records concerning the New York City ERO

Field Office and the noncitizen detainees who fall within the responsibility of that field office.

       3.      I base this declaration on my personal knowledge, and on information contained

in ICE’s electronic records and databases.


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                                             G.F.F.

         4.    G.F.F. is a native and citizen of Venezuela. He unlawfully entered the United

States on or about May 15, 2024, without inspection.

         5.    On June 4, 2024, G.F.F. was served in person with a Notice to Appear charging

him with inadmissibility under section 212(a)(6)(A)(i) of the Immigration and Nationality Act

(INA).

         6.    On November 20, 2024, G.F.F. failed to appear for his initial master calendar

hearing before the Chicago Immigration Court.

         7.    On December 5, 2024, during the course of executing a federal arrest warrant,

Homeland Security Investigations (HSI) agents encountered G.F.F. and several alleged members

of Tren de Aragua (TdA) living together inside an apartment. On the same day, G.F.F. was

arrested and detained by ICE pursuant to INA § 236(a).

         8.    On January 20, 2025, a custody redetermination hearing was held before an

immigration judge, who denied G.F.F.’s request for a change in custody status by written order

dated February 18, 2025.

         9.    On January 24, 2025, G.F.F. filed an asylum application as his sole form of relief.

         10.   On March 8, 2025, G.F.F. was transferred to Moshannon Valley Processing

Center (“MVPC”).

         11.   On March 9, 2025, G.F.F. was transferred to El Valle Detention Facility

(“EVDF”).

         12.   On March 17, 2025, an individual merits hearing in removal proceedings for

G.F.F. was held before an immigration judge, and the case was adjourned to March 25, 2025, for

additional testimony.
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       13.     On March 25, 2025, a continued individual merits hearing for G.F.F. was held

before an immigration judge, and the case was adjourned to April 2, 2025, for additional

testimony.

       14.     On April 2, 2025, a continued individual merits hearing for G.F.F. was held

before an immigration judge, and the court set a briefing schedule for closing statements and

adjourned the case to April 23, 2025.

       15.     On April 4, 2025, G.F.F. was transferred to Alexandria Staging Facility.

       16.     On April 5, 2025, G.F.F. was transferred to Orange County Jail, where he

continues to be detained.

                                             J.G.O.

       17.     J.G.O. is a thirty-two-year-old native and citizen of Venezuela. He unlawfully

entered the United States on or about September 29, 2022, without inspection.

       18.     He was issued a Notice to Appear charging him with inadmissibility under INA

§ 212(a)(6)(A)(i).

       19.     On January 18, 2024, J.G.O. was arrested by the New York City Police

Department for Criminal Possession of Weapon in the 4th degree in violation of N.Y. Penal Law

§ 265.01(01). The arrest was eventually sealed.

       20.     On January 30, 2025, HSI agents encountered J.G.O. while executing a criminal

arrest warrant against an alleged member of TdA. On the same day, J.G.O. was arrested and

detained by ICE pursuant to INA § 236(a) at Orange County Jail.

       21.     On March 8, 2025, J.G.O. was transferred to MVPC.

       22.     On March 9, 2025, J.G.O. was transferred to EVDF.

       23.     On April 4, 2025, J.G.O. was transferred to Alexandria Staging Facility.
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          24.   On April 5, 2025, J.G.O. was transferred to Orange County Jail, where he

continues to be detained.

          25.   His individual hearing on his asylum application is scheduled for May 2, 2025, in

the Varick Immigration Court.

                                     ORANGE COUNTY JAIL

          26.   Orange County Jail, located in Goshen, New York, is the only ICE detention

facility located in the Southern District of New York aside from short-term arrest processing

facilities at 26 Federal Plaza. ICE does not have any detention facilities located on Rikers’

Island.

          27.   Orange County Jail has bed-space capacity for 56 low/medium-risk detainees. As

of today, it is at capacity for detainees at this classification.

          28.   Orange County Jail has bed-space capacity for 112 medium/high-risk detainees.

As of today, 86 detainees at this classification are detained there.

          29.   Low-risk classification detainees cannot be detained in medium/high risk bed-

space capacity.

          30.   There are currently 8 Venezuelan citizens with alleged membership in TdA

detained at Orange County Jail, including the named Petitioners in this lawsuit.

          31.   Due to the above-described space limitations at Orange County Jail for aliens of

certain classifications and to comply with the Temporary Restraining Order issued by this court,

ICE is unable to detain and remove certain Venezuelan citizens with alleged membership in TdA

in the Southern District of New York when they are subject to removal under both Title 8 and

Title 50 of the U.S. Code.
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       32.     Due to the above-described space limitations at Orange County Jail for aliens of

certain classifications and to comply with the Temporary Restraining Order issued by this court,

ICE is unable to transfer Venezuelan citizens with alleged membership in TdA to facilities with

sufficient bed space.



       I declare under penalty of perjury that the foregoing is true and correct.

Dated: New York, New York
       April__, 2025

                                             KHRISTOPHER J Digitally signed by
                                                           KHRISTOPHER J DAWSON
                                                           Date: 2025.04.15 19:12:33
                                             DAWSON        -04'00'

                                             KHRISTOPHER DAWSON
